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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SHARONDA CHEEVES                                       :      CIVIL ACTION
                                                       :
      v.                                               :
                                                       :
HYDE SC 200 GROUP, LLC                                 :      NO. 19-2333
                                                       :
                                                       :

                                              ORDER


        AND NOW, this 3rd day of October, 2019, this matter having been referred by the
Honorable Robert F. Kelly for a settlement conference, IT IS HEREBY ORDERED that a
settlement conference will be held on MONDAY, DECEMBER 9, 2019 at 9:30 A.M., before
the undersigned in Chambers, Room 3038, 3rd Floor, United States Courthouse, 601 Market
Street, Philadelphia, Pennsylvania.

        The following are required to attend the conference in person: (1) the senior attorney in
charge of the matter for each of the parties, (2) the parties themselves, or if a corporation, an
official of the corporation with full settlement authority, (3) representatives with full settlement
authority of all insurance carriers or other entities responsible for paying any portion of a
settlement. The Court will grant an exception to this requirement only upon written request a
week prior to the conference (with a copy to all counsel) showing good cause and exceptional
circumstances.

        Each party is directed to submit to Chambers (via facsimile at 267-299-5061) a
confidential settlement memorandum of no more than four typed double-spaced pages, setting
out the following in order:

       1. The names, telephone numbers, facsimile numbers and email addresses of counsel to
          appear at the conference on behalf of the party;

       2. The name of the party or the party’s representative, including insurer if applicable
          (with title or position) to appear at the conference;

       3. The status of any pending motions;

       4. The status of discovery;

       5. A brief statement of the elements and manner of proof of the party’s claims and/or
          defenses;
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6. A brief statement of the party’s damages and manner of proof of their damages or, as
   appropriate, its position on damages claimed by any opposing party;
7. The last demand and/or offer: and

8. Any other matters that counsel believe may be relevant to settlement discussions.

   Counsel are directed to fax the position paper to Chambers not later four business
   days prior to the conference. The document is not to be shared with opposing
   counsel nor filed of record. This is for Judge Hey’s eyes only. Counsel are
   encourages to attach particularly relevant trial exhibits to their submissions. If such
   exhibits are lengthy, the relevant portions should be delineated. Counsel are also
   directed to exchange settlement offer and demand prior to the conference.

                                             BY THE COURT:

                                             /s/ELIZABETH T. HEY

                                             ______________________________
                                             ELIZABETH T. HEY
                                             UNITED STATES MAGISTRATE JUDGE
